

Markelson v Samadi (2021 NY Slip Op 00021)





Markelson v Samadi


2021 NY Slip Op 00021


Decided on January 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2021

Before: Webber, J.P., Singh, Kennedy, Shulman, JJ. 


Index No. 805463/17, 150789/18, 805338/18 Appeal No. 12792-12793 Case No. 2019-05002 

[*1]George Markelson, etc., Plaintiff-Respondent,
vDavid B. Samadi, M.D., et al., Defendants-Appellants.
Angelos Markatos, et al., Plaintiffs-Respondents,
vDavid B. Samadi, M.D., et al., Defendants-Appellants.


Shaub, Ahmuty, Citrin &amp; Spratt, LLP, Lake Success (Nicholas Tam of counsel), for appellants.
The Jacob D. Fuchsberg Law Firm, LLP, New York (Joseph Lanni of counsel), for respondents.



Order, Supreme Court, New York County (Jean A. Madden, J), entered September 30, 2019, which, insofar as appealed from as limited by the briefs, denied the motions of the Samadi Defendants and defendants Lenox Hill Hospital and Northwell Health, Inc. to dismiss plaintiffs Angelos and Linda Markatos's request for punitive damages and General Business Law (GBL) § 349 claim, unanimously modified, on the law, to grant defendants' motions as to plaintiffs' GBL 349 claim, and otherwise affirmed, without costs.
The facts in this case do not materially differ from the facts at issue in the recent related case of Nadler v Samadi (188 AD3d 537 [1st Dept 2020]). The requests for punitive damages were properly sustained, and the GBL 349 claims rejected, for the reasons stated therein. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2021








